                    Case 23-11201            Doc 1       Filed 07/27/23 Entered 07/27/23 19:48:22                             Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

Case number (if known)                                                     Chapter      11
                                                                                                                         § Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                104 Power Limited Partnership

2.   All other names debtor
     used in the last 8 years
     Include any assumed          MFC Power Limited Partnership
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  c/o Sangra Moller LLP
                                  Suite 1000-925 West Georgia St
                                  Vancouver, BC V6C 3L
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  ~Out of Country                                                Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor               § Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  ¥ Partnership (excluding LLP)
                                  § Other. Specify:




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Debtor    104 Power Limited Partnership                                                                Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                       § Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       § Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       § Railroad (as defined in 11 U.S.C. § 101(44))
                                       § Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       § Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       § Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       ¥ None of the above
                                       B. Check all that apply
                                       § Tax-exempt entity (as described in 26 U.S.C. §501)
                                       § Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       § Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                          http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                       § Chapter 7
     A debtor who is a “small          § Chapter 9
     business debtor” must check       ¥ Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                               §    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     (whether or not the debtor is a                             cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     “small business debtor”) must                               procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                            §    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                                 (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                 under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                 sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            §    A plan is being filed with this petition.
                                                            §    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            §    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                            §    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       § Chapter 12
9.   Were prior bankruptcy             ¥ No.
     cases filed by or against the
     debtor within the last 8          § Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                    Case number
                                                District                                  When                                    Case number




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Debtor    104 Power Limited Partnership                                                                     Case number ( if known )
          Name

10. Are any bankruptcy cases               § No
    pending or being filed by a
    business partner or an                 ¥ Yes.
    affiliate of the debtor?




     List all cases. If more than 1,                                                                                                                          Affiliate/Genera
     attach a separate list                          Debtor      1046533 B.C. Ltd.                                                 Relationship               l Partner

                                                     District    Massachusetts                 When       7/27/23                  Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                       §      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                       ¥      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or             ¥ No
    have possession of any
                                                    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal          § Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                    § It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                    § It needs to be physically secured or protected from the weather.
                                                    § It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                    § Other
                                                    Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                    § No
                                                    § Yes.      Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                § Funds will be available for distribution to unsecured creditors.
                                                ¥ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                ¥ 1-49                                             § 1,000-5,000                                 § 25,001-50,000
    creditors                                                                             § 5001-10,000                                 § 50,001-100,000
                                       § 50-99
                                       § 100-199                                          § 10,001-25,000                               § More than100,000
                                       § 200-999

15. Estimated Assets                   ¥ $0 - $50,000                                     § $1,000,001 - $10 million                    § $500,000,001 - $1 billion
                                       § $50,001 - $100,000                               § $10,000,001 - $50 million                   § $1,000,000,001 - $10 billion
                                       § $100,001 - $500,000                              § $50,000,001 - $100 million                  § $10,000,000,001 - $50 billion
                                       § $500,001 - $1 million                            § $100,000,001 - $500 million                 § More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
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Debtor   104 Power Limited Partnership                                                  Case number ( if known )
         Name


16. Estimated liabilities    § $0 - $50,000                             § $1,000,001 - $10 million                 § $500,000,001 - $1 billion
                             § $50,001 - $100,000                       ¥ $10,000,001 - $50 million                § $1,000,000,001 - $10 billion
                             § $100,001 - $500,000                      § $50,000,001 - $100 million               § $10,000,000,001 - $50 billion
                             § $500,001 - $1 million                    § $100,000,001 - $500 million              § More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
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                                                 Director and Corporate Secretary
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                                                 Director and Corporate Secretary




                                                  Director and Corporate Secretary
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              Type of Interest   Shares Held        Percentage                 Name                     Address
                                                 Ownership Interest
           Limited Partnership       1               0.0001%          10464533 B.C. Ltd.     1000-925 West Georgia Street
           Units                                                                             Vancouver, BC V6C3L-2
           Limited Partnership   485,806,900          33.68%          1133145 B.C. Ltd.      1000-925 West Georgia Street
           Units                                                                             Vancouver, BC V6C3L-2
           Limited Partnership   956,612,499         66.33199%        1046528 B.C. Ltd.      1000-925 West Georgia Street
           Units                                                                             Vancouver, BC V6C3L-2




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        Fill in this information to identify the case:
 Debtor name 104 Power Limited Partnership
 United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS,                                                                             § Check if this is an
                                               BOSTON DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and            Name, telephone number Nature of claim                 Indicate if claim   Amount of claim
 complete mailing address,       and email address of   (for example, trade debts,       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code              creditor contact       bank loans, professional        unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                        services, and government            disputed        value of collateral or setoff to calculate unsecured claim.
                                                        contracts)                                          Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Her Majesty the                 Eileen Tat                  Environmental             Contingent                                                                                $0.00
 Queen in Right of                                                                     Unliquidated
 Albert                          eileen.tat@gov.ab.                                    Disputed
 c/o Finance and                 ca
 Treasury                        (780) 644-2925
 10011-109 Street
 SW 2nd Floor
 Edmonton, AB
 T5J3S-8
 Raiffeisen Bank                 Oli Gepfert                 Bank loan                 Contingent                                                                  $17,005,271.00
 International AG                                                                      Unliquidated                                                                                CAD
 AM Stadtpark 9,                 oli.gepfert@misch                                     Disputed
 1030                            on.com
 Vienna, AT                      +44 20 33217157




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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           Fill in this information to identify the case:

 Debtor name        104 Power Limited Partnership

 United States Bankruptcy Court for the:           DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number (if known)
                                                                                                                       § Check if this is an
                                                                                                                           amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

    ¥ No. Go to Part 2.
    § Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                            debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

    ¥ No. Go to Part 3.
    § Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

    ¥ No. Go to Part 4.
    § Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

    ¥ No. Go to Part 5.
    § Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    ¥ No. Go to Part 6.
    § Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    ¥ No. Go to Part 7.
    § Yes Fill in the information below.
Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                    page 1
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                Case 23-11201                    Doc 1        Filed 07/27/23 Entered 07/27/23 19:48:22                 Desc Main
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 Debtor         104 Power Limited Partnership                                                 Case number (If known)
                Name




 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    ¥ No. Go to Part 8.
    § Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    ¥ No. Go to Part 9.
    § Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

    ¥ No. Go to Part 10.
    § Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    ¥ No. Go to Part 11.
    § Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    ¥ No. Go to Part 12.
    § Yes Fill in the information below.




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                       page 2
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                                                                         Document     Page 16 of 30
 Debtor           104 Power Limited Partnership                                                                        Case number (If known)
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                     Current value of real
                                                                                                      personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                       $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                            $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                $0.00

 83. Investments. Copy line 17, Part 4.                                                                                        $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                          $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                 $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                     $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                 $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                  $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                             $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +                            $0.00

 91. Total. Add lines 80 through 90 for each column                                                                        $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                            $0.00




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                          page 3
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                                                                 Document     Page 17 of 30
           Fill in this information to identify the case:

 Debtor name          104 Power Limited Partnership

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number (if known)
                                                                                                                                         § Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       § No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       ¥ Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                 Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
 2.1
 2.     1133148 B.C. Ltd.                             Describe debtor's property that is subject to a lien         CAD $11,066,638.00                           $0.00
        Creditor's Name                               Substantially all assets

        925 West Georgia Street
        1000
        Vancouver, BC V6C3L2
        Creditor's mailing address                    Describe the lien
                                                      All assets
                                                      Is the creditor an insider or related party?
                                                      § No
        Creditor's email address, if known            ¥ Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        § No
        09/26/2017                                    ¥ Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
        ¥ No                                          § Contingent
        § Yes. Specify each creditor,                 § Unliquidated
        including this creditor and its relative      § Disputed
        priority.




                                                                                                                           $11,066,638.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                    00 CAD

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you    Last 4 digits of
                                                                                                               enter the related creditor?        account number for
                                                                                                                                                  this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 1
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    Fill in this information to identify the case:

 Debtor name         104 Power Limited Partnership

 United States Bankruptcy Court for the:           DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number (if known)
                                                                                                                                                    § Check if this is an
                                                                                                                                                        amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          ¥ No. Go to Part 2.
          § Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    unknown
           Her Majesty the Queen in Right of Albert                           ¥ Contingent
           c/o Finance and Treasury
           10011-109 Street SW 2nd Floor
                                                                              ¥ Unliquidated
           Edmonton, AB T5J3S-8                                               ¥ Disputed
           Date(s) debt was incurred                                          Basis for the claim: Environmental
           Last 4 digits of account number                                    Is the claim subject to offset?   ¥ No § Yes
 3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       CAD $17,005,271.00
           Raiffeisen Bank International AG                                   ¥ Contingent
           AM Stadtpark 9, 1030
                                                                              ¥ Unliquidated
           Vienna, AT                                                         ¥ Disputed
           Date(s) debt was incurred April 23, 2014                           Basis for the claim: Loan Agreement
           Last 4 digits of account number                                    Is the claim subject to offset?   ¥ No § Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                    On which line in Part1 or Part 2 is the             Last 4 digits of
                                                                                                       related creditor (if any) listed?                   account number, if
                                                                                                                                                           any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.        $                        0.00
 5b. Total claims from Part 2                                                                             5b.    +   $           CAD 17,005,271.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                  5c.        $             CAD 17,005,271.00



Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 1
Software Copyright (c) 2023 CINGroup - www.cincompass.com                                                       G14567
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                                                                 Document     Page 19 of 30
          Fill in this information to identify the case:

 Debtor name        104 Power Limited Partnership

 United States Bankruptcy Court for the:           DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number (if known)
                                                                                                                                 § Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
      § No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
    ¥ Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal     Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1
  .1.        State what the contract or                     Lease Agreement
             lease is for and the nature of                 dated December 7,
             the debtor's interest                          2015 for land in High
                                                            River Alberta Canada
                 State the term remaining                                               Her Majesty the Queen in Right of Albert
                                                                                        c/o Finance & Treasury Legal Team
               List the contract number of                                              10011-109 Street NW 2nd Floor
                any government contract                                                 Edmonton Canada, AB T5J 3-S8


 2.2
  .2.        State what the contract or                     Lease Agreement
             lease is for and the nature of                 dated December 7,
             the debtor's interest                          2015 for land in High
                                                            River Alberta Canada
                 State the term remaining                                               LR Processing
                                                                                        Suite 500-1035 7th Ave SW
               List the contract number of                                              Calgary Albe
                any government contract




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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           Fill in this information to identify the case:

 Debtor name        104 Power Limited Partnership

 United States Bankruptcy Court for the:           DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number (if known)
                                                                                                                           § Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 § No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 ¥ Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
      Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
      creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                    Name                            Check all schedules
                                                                                                                                 that apply:
     2.1     1046533 B.C.                     925 West Georgia Street Suite 100                  Raiffeisen Bank                 §D
             Ltd.                             Vancouver, BC V6C 3L2                              International AG                ¥ E/F        3.2
                                                                                                                                 §G


     2.2     1133145 B.C. Ltd                 925 West Georgia Street Suite 1000                 1133148 B.C. Ltd.               ¥D          2.1
                                              Vancouver, BC V6C 3L2                                                              § E/F
                                                                                                                                 §G




Official Form 206H                                                      Schedule H: Your Codebtors                                            Page 1 of 1
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            Fill in this information to identify the case:

 Debtor name            104 Power Limited Partnership

 United States Bankruptcy Court for the:                       DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number (if known)
                                                                                                                                                                                   § Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                  $                   0.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                     $                   0.00

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                    $                   0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                  $ CAD 11,066,638.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                     $                   0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                               +$ CAD 17,005,271.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $ CAD 28,071,909.00




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                               page 1
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           Fill in this information to identify the case:

 Debtor name        104 Power Limited Partnership

 United States Bankruptcy Court for the:           DISTRICT OF MASSACHUSETTS, BOSTON DIVISION

 Case number (if known)
                                                                                                                                      § Check if this is an
                                                                                                                                          amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                      04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

      ¥ None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                   Sources of revenue                          Gross revenue
       which may be a calendar year                                                           Check all that apply                        (before deductions and
                                                                                                                                          exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
   royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      ¥ None.
                                                                                              Description of sources of revenue           Gross revenue from
                                                                                                                                          each source
                                                                                                                                          (before deductions and
                                                                                                                                          exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before filing this
   case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years
   after that with respect to cases filed on or after the date of adjustment.)

      ¥ None.
       Creditor's Name and Address                                        Dates                  Total amount of value        Reasons for payment or transfer
                                                                                                                              Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
   cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
   adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
   Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
   relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      ¥ None.
       Insider's name and address                                         Dates                  Total amount of value        Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
   foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 1

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      ¥ None
       Creditor's name and address                           Describe of the Property                                         Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
   debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.

      ¥ None
       Creditor's name and address                           Description of the action creditor took                          Date action was                  Amount
                                                                                                                              taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
   capacity—within 1 year before filing this case.

      § None.
              Case title                                      Nature of case              Court or agency's name and                 Status of case
              Case number                                                                 address
       7.1.   Raiffeisen Bank International                   Breach of                   ABKB Calgary Registry                      ¥ Pending
              AG v. MFC Power Limited                         Contract                    Court                                      § On appeal
              Partnership, MFC Power                                                      601 5 Street SW                            § Concluded
              General Partner Ltd., LTC                                                   Calgary, AB T2P 5-P7
              Pharma (Int) Ltd., and
              11331488 B.C. Ltd.
              1801-16278

       7.2.   Young EnergyServe Inc. v.                       Breach of                   ABKB Calgary Registry                      ¥ Pending
              MPP Ltd., MFC Processing                        Contract.                   Court                                      § On appeal
              Partnership, MFC Power                                                      601 5 Street SW
                                                                                                                                     § Concluded
              Limited Partnership and MFC                                                 Calgary, AB T2P 5-P7
              Power General Partner Ltd.
              1601-01798

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      ¥ None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the
   gifts to that recipient is less than $1,000

      ¥ None
              Recipient's name and address                    Description of the gifts or contributions                  Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      ¥ None




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       Description of the property lost and how              Amount of payments received for the loss                    Dates of loss           Value of property
       the loss occurred                                                                                                                                      lost
                                                             If you have received payments to cover the loss, for
                                                             example, from insurance, government compensation, or
                                                             tort liability, list the total received.

                                                             List unpaid claims on Official Form 106A/B (Schedule
                                                             A/B: Assets – Real and Personal Property).

 Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
    case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing
    a bankruptcy case.

      ¥ None.
                Who was paid or who received the                If not money, describe any property transferred               Dates                Total amount or
                transfer?                                                                                                                                   value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
    self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      ¥ None.
       Name of trust or device                                  Describe any property transferred                     Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within 2
    years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
    outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      ¥ None.
              Who received transfer?                          Description of property transferred or                     Date transfer was         Total amount or
              Address                                         payments received or debts paid in exchange                made                               value

 Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      ¥ Does not apply
                Address                                                                                                   Dates of occupancy
                                                                                                                          From-To

 Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

      ¥     No. Go to Part 9.
      §     Yes. Fill in the information below.

                Facility name and address                     Nature of the business operation, including type of services the           If debtor provides meals
                                                              debtor provides                                                            and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:     Personally Identifiable Information


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16. Does the debtor collect and retain personally identifiable information of customers?

      ¥     No.
      §     Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      ¥     No. Go to Part 10.
      §     Yes. Does the debtor serve as plan administrator?


 Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
    or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      ¥ None
                Financial Institution name and                Last 4 digits of           Type of account or           Date account was          Last balance before
                Address                                       account number             instrument                   closed, sold,              closing or transfer
                                                                                                                      moved, or
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.


      ¥ None
       Depository institution name and address                     Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?
                                                                   Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which
    the debtor does business.


      ¥ None
       Facility name and address                                   Names of anyone with access            Description of the contents              Does debtor still
                                                                   to it                                                                           have it?


 Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
    leased or rented property.

    ¥ None

 Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
      affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned,
      operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
      harmful substance.


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 Debtor      104 Power Limited Partnership                                                              Case number (if known)



Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      ¥     No.
      §     Yes. Provide details below.

       Case title                                                  Court or agency name and               Nature of the case                           Status of case
       Case number                                                 address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

      §     No.
      ¥     Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address
       Mazeppa Power Plant                                         Province of Alberta                        Environmental Protection                 May 4, 2021
       10011 109 Street NW 2nd Floor                                                                          and Enhancement Act
       Edmonton, AB T5J 3-S8


24. Has the debtor notified any governmental unit of any release of hazardous material?

      ¥     No.
      §     Yes. Provide details below.

       Site name and address                                       Governmental unit name and                 Environmental law, if known              Date of notice
                                                                   address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      ¥ None
    Business name address                                   Describe the nature of the business               Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.

                                                                                                              Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         § None
       Name and address                                                                                                                       Date of service
                                                                                                                                              From-To
       26a.1.       Sangra Moller LLP
                    1000 Cathedral Place, 925 West Georgia S
                    Vancouver, BC V6C 3-L2

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement within 2
         years before filing this case.

          ¥ None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

          § None
       Name and address                                                                                     If any books of account and records are unavailable,
                                                                                                            explain why
Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 5

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 Debtor      104 Power Limited Partnership                                                              Case number (if known)



       Name and address                                                                                     If any books of account and records are unavailable,
                                                                                                            explain why
       26c.1.       Sangra Moller LLP
                    925 West Georgia Street 100 Cathedral Pl
                    Vancouver, BC V6C 3-L2

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
         within 2 years before filing this case.

          ¥ None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      ¥     No
      §     Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
    control of the debtor at the time of the filing of this case.

       Name                                         Address                                               Position and nature of any interest    % of interest, if
                                                                                                                                                 any
       1046533 B.C. Ltd.                            925 West Georgia Street 1000                          General Partner                        .0001%
                                                    Vancouver, BC V6C 3-L2

       Name                                         Address                                               Position and nature of any interest    % of interest, if
                                                                                                                                                 any
       1133145 BC Ltd.                              925 West Georgia Street 1000                          Limited Partner                        33.68%
                                                    Vancouver, BC V6C 3-L2

       Name                                         Address                                               Position and nature of any interest    % of interest, if
                                                                                                                                                 any
       1046528 B.C. Ltd.                            925 West Georgia Street 1000                          Limited Partner                        66.33199%
                                                    Vancouver, BC V6C 3-L2



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
    of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      ¥     No
      §     Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
    credits on loans, stock redemptions, and options exercised?

      ¥     No
      §     Yes. Identify below.

                Name and address of recipient                 Amount of money or description and value of                Dates              Reason for providing
                                                              property                                                                      the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      ¥     No
      §     Yes. Identify below.


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